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                       IN THE UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF LOUISIANA


MICHAEL MCCLANAHAN, GARY
CHAMBERS, and EUGENE COLLINS,
                                                   Case No.: 17-cv-01720-JWD-RLB
       Plaintiffs,
v.

SCOTT WILSON, and CITY OF BATON
ROUGE

       Defendants.


            PLAINTIFFS’ FIRST SET OF INTERROGATORIES TO SCOTT WILSON

       Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, plaintiff hereby requests

that Scott Wilson answer these interrogatories, separately and fully in writing and verified and under

oath within thirty days, in accordance with the law and the definitions and instructions set forth below.

                                             DEFINITIONS

       1.      The term “identify” when used in conjunction with a person means to state the person’s

(1) full name; (2) last known residence and business addresses; (3) last known home and business

telephone numbers; and (4) job title. When used in conjunction with a document, the term “identify”

means to state: (1) the title of the document; (2) the date of the document; (3) the author of the

document; (4) the name and business address of the present custodian of the document. Once a person




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has been identified in compliance with this paragraph, only the name of that person need be listed in

response to later discovery requesting the identification of that person.

       2.      The terms “document” or “documents” refer to every writing or record of every type or

description, including, but not limited to correspondence; notes; faxes including cover sheets; books;

papers; contracts; instructions; guides; compilations of rules, regulations, or policies; daybooks;

calendars; photographs; emails; messages; drawings; maps; diagrams; charts; graphs; other writings;

recording tapes; recording discs; mechanical or electronic information storage or recording elements,

text messages, and any other “documents” as the word is defined in Rule 34 of the Federal Rules of

Civil Procedure.

       3.      The term “relate” or “relating to” means showing, reflecting, referring to, constituting,

evidencing, or concerning in any way all or any portion of the subject matter of the facts, contentions, or

matter referenced in the interrogatory.

       4.      The term “person” means any natural person, group of natural persons, legal entity,

corporation, partnership, government agency or board, association, proprietorship, organization, or any

other business or entity.

       5.      “Defendants,” “you,” “your,” or “yourself” refers to all Defendants, their agents,

subordinates and employees, unless the context indicates or specifies otherwise, and shall be deemed to

mean each and every legal representative, agent, employee, attorney, accountant, advisor and all other

persons acting or purporting to act on your/their behalf or under your/their control to the extent that any

of those persons have knowledge of or participated in any of the matters related to the allegations in the

Complaint or to any of your defenses.

       6.      The term “describe” means to set forth in detail all known facts and circumstances

related to the subject of the Interrogatory, including the date, time, and place of any oral or written



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statement, conversation, report, study, or meeting, the identity of the participants, and the substance and

purpose of the events or communications so described.

        7.      Whenever used herein the singular shall be deemed to include the plural and the plural

shall be deemed to include the singular; the masculine shall be deemed to include the feminine and the

feminine shall be deemed to include the masculine; disjunctive (“or”) shall be deemed to include the

conjunctive (“and”) and vice versa, and each of the functional words “each”, “every”, “any”, and “all”

shall be deemed to include each of the other functional words.

                                            INSTRUCTIONS

        6.      You are to answer each interrogatory separately, completely and fully, under oath. In the

event of an objection to any interrogatory, said objection should clearly indicate to which part or portion

of the interrogatory it is directed.

        7.      If the information requested by any interrogatory is contained in documents, papers or

records in the custody of defendants, you may so indicate and answer that interrogatory by attaching

copies of such documents or papers to your answers and by indicating the interrogatory to which those

documents or papers are deemed responsive.

        8.      These interrogatories call for all information available to the defendants, their employees,

and agents with respect to the subject matter into which they inquire. If some information is known by

or available to a particular agent, please include in your answers all information known by or available

to each employee or agent. Please identify which employee or agent provided the information with

respect to each answer.

        9.      If you are unable to answer any interrogatory in full after exercising due diligence to

secure the requested information so state, answer to the fullest extent possible, and explain why the

interrogatory cannot be answered in full.


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       10.     If, in responding to any interrogatory, you claim any ambiguity in either interpreting the

interrogatory or a definition or instruction applicable thereto, such claim shall not be utilized by you as a

basis to refuse to respond, but there shall be set forth as part of the response the language deemed to be

ambiguous and the interpretation chosen or used in responding to the requests.

       11.     If you object to an interrogatory or to any portion thereof on a claim of privilege or any

other basis, it must state with particularity the basis of the claim of privilege or other grounds asserted in

support of the objection, identify with precision what aspect of the information sought by the

interrogatory will not be provided on the basis of that objection, and provide all other information

requested by the interrogatory.

       12.     These interrogatories are continuing in nature. As such, Defendants shall supplement any

response to these interrogatories as soon new responsive information is acquired.

       13.     If a RFA refers to or is in the context of a Metro Council meeting, it is the May 10, 2017,

Metro Council meeting unless otherwise specified.

                                          INTERROGATORIES

INTERROGATORY NO. 1

       Provide your factual and legal basis for ordering Michael McClanahan removed during the May
10, 2017 Metro Council meeting.

INTERROGATORY NO. 2

      Provide your factual and legal basis for ordering Gary Chambers during the May 10, 2017 Metro
Council meeting.

INTERROGATORY NO. 3

      Provide your factual and legal basis for ordering Eugene Collins removed during the May 10,
2017 Metro Council meeting.




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INTERROGATORY NO. 4

       Describe in detail the process used to determine when a speaker can be appropriately removed
from a Metro Council meeting

INTERROGATORY NO. 5

        Describe in detail all trainings, guidance, presentations, or instruction provided to Metro Council
Members regarding determining that a speaker is “off-topic,” may be removed from the speaking
podium, or in compliance with Section 1.7(a) of the Code of Ordinance, including but not limited to
training provided by the city attorney, the date of the instruction, the content of the instruction, and
attendees of the training.

INTERROGATORY NO. 6

      Identify the date and agenda item of any Baton Rouge public meeting in which a person read
from Dr. Seuss’ “Green Eggs & Ham.”

INTERROGATORY NO. 7

         Describe the basis for your denial (R. Doc. 15-2 at ¶ 5) of the allegation that “The Plaintiffs here
– Black community leaders Michael McClanahan, Gary Chambers, and Eugene Collins – were among
the citizens that Scott Wilson silenced and ordered removed.”

INTERROGATORY NO. 8

        Describe the context (see R. Doc. 15-2 at ¶ 6) that you contend justifies your denial of the
following allegation: “When Michael McClanahan, head of the Baton Rouge NAACP got up to the
microphone to speak, Scott Wilson ordered police officers to ‘take him out’ less than one second after he
said the words ‘Alton Sterling.’”

INTERROGATORY NO. 9

       Describe the context (see R. Doc. 15-2 at ¶ 7) that you contend justifies your denial of the
following allegation: “Gary Chambers was only at the microphone for eight seconds when he
mentioned the phrase ‘police department’ and Scott Wilson immediately ordered the police to take him
out.”

INTERROGATORY NO. 10

       Describe the basis for your denial (R. Doc. 15-2 at ¶ 22) of the allegation that “On July 5, 2016,
Baton Rouge police officers shot Alton Sterling to death.”

INTERROGATORY NO. 11

      Describe the basis for your denial (R. Doc. 15-2 at ¶ 27) of the allegation that “The Baton Rouge
Metro Council was scheduled to hold a meeting on May 10, 2017. Some of the agenda items were

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related to the issue of officer-involved shootings. Others were not, and involved the business-as-usual
of the City.”

INTERROGATORY NO. 12

        Describe the basis for your denial (R. Doc. 15-2 at ¶ 37) of the allegation that “Agenda Item 60
was directly related to the Alton Sterling killing, because the Alton Sterling killing was the “driving
force” behind House Bill 276.8 The bill specified how long police officers would have to hire an
attorney before they are questioned for an incident involving shooting and seriously injuring or killing
someone. It had originally contained a provision about how long an officer should be paid and not paid
while on administrative leave for a shooting – a issue of community concern about the officers involved
in the killing of Alton Sterling.”

INTERROGATORY NO. 13

       Describe the context (see R. Doc. 15-2 at ¶ 40) that you contend justifies your denial of the
following allegation: “A member of the audience cried out, ‘He hadn’t even started!’”

INTERROGATORY NO. 14

        Describe the context (see R. Doc. 15-2 at ¶ 44) that you contend justifies your denial of the
following allegation: “Ms. Weaver was at the podium for two minutes, including more than a minute
after bringing up Alton Sterling.”

INTERROGATORY NO. 15

        Describe why the City of Baton Rouge does not have “sufficient information” (see R. Doc. 15-2
at ¶ 69) to admit or deny an allegation about its own former police chief’s public statements.

INTERROGATORY NO. 16

        Describe the basis for your denial (see R. Doc. 15-2 at ¶ 89) of the allegation that “Defendants
did not just remove Plaintiffs from the podium. They went a step further and removed them from the
Metro-Council Chambers entirely.”

INTERROGATORY NO. 17

       Describe the basis for your denial (see R. Doc. 15-2 at ¶ 90) of the allegation that When the
police merely returned a person to their seat, Scott Wilson overrode that decision and explicitly required
them removed from the chamber.”

INTERROGATORY NO. 18

       For every request for admission denied, describe the basis for denial.




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                      Plaintiffs, by and through their counsel,

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                                      CERTIFICATE OF SERVICE

       I hereby certify that on June 5, 2018, a copy of Plaintiff’s First Set of Interrogatories to Scott

Wilson was transmitted to counsel for Defendants by email to DSMorris@brla.gov.

                                                      /s/ William Most
                                                      WILLIAM MOST




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